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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BRIANNA BOE et al.,                 )
                                    )
       Plaintiffs,                  )
                                    )
and                                 )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
       Plaintiff-Intervenor,        )
                                    )
v.                                  )           No. 2:22-cv-00184-LCB
                                    )
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama, et al.,           )
                                    )
       Defendants.                  )

      DEFENDANTS’ MOTION TO AMEND SCHEDULING ORDER

       In accordance with the Court’s order resetting trial for August 12, 2024,

Doc. 368 at 4, Defendants respectfully move to amend the scheduling order in this

case. Private Plaintiffs do not oppose the proposed amended schedule. The United

States has indicated that it intends to seek a stay of this litigation, but has confirmed

that, notwithstanding that position, it plans to complete production from HHS by

December 15.

       Defendants respectfully request that the Fifth Amended Scheduling Order

(Doc. 292) be amended as follows:
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      Complete Production by HHS: HHS must produce complete discovery in

response to Defendants’ requests for production by December 15, 2023.

      Discovery Cutoff: All discovery must be commenced in time to be completed

by April 14, 2024.

      Dispositive Motions: All potentially dispositive motions, including Daubert

motions, must be filed by May 12, 2024.

      Expert Testimony: Any supplemental reports under Federal Rule of Civil

Procedure 26(a)(2)(B) from any expert specially retained or employed by

Defendants shall be due by February 2, 2024. Defendants shall disclose the names

of their experts providing supplemental reports by January 5, 2024. For expert

witnesses who have not already been disclosed in this litigation, the names and

anticipated subject matter of any rebuttal expert witnesses retained by Plaintiffs or

the United States shall be disclosed by February 16, 2024. Rebuttal expert opinions

shall be due by March 11, 2024.

      Final Lists: Lists of trial witnesses and exhibits must be filed by June 28,

2024. Any objections to such lists, including objections under Federal Rule of Civil

Procedure 26(a)(3), must be filed within fourteen days thereafter.

      Trial: Trial is scheduled to begin on August 12, 2024, at 9:00 a.m. CT. The

trial shall occur at the Frank M. Johnson Jr. United States Courthouse in

Montgomery, Alabama.



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Dated: November 30, 2023                Respectfully submitted,
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                                         Attorney General
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                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on November 30, 2023, which will serve all counsel of record.

                                     s/ Edmund G. LaCour Jr.
                                     Counsel for Defendants




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